Case 1:24-cv-00648-AA   Document 23-48   Filed 06/20/24   Page 1 of 2




                        EXHIBIT 53
                                     Case 1:24-cv-00648-AA              Document 23-48                               Filed 06/20/24                                   Page 2 of 2

                                                                                                                                                                                                                                                                                             EXHIBIT 53




• · HeidiBr:own
      Arnaua, 1nave to oe mere in person to oe ao1e to ao it. 11eave on ::;aturaav. 1nat was my on1y
      option.                                                                03/01/2024            17: 53

      Separately, what proposal did you send over? Did you send it to Farrugia? She• is my lawyer of
      record.                                                                                      17:54


                                                                                                          • ; Yes 8ich.oux ~ent, a ·proposal~to :Fai-rudi~                                                                              ~Imost 4 months tlQO
                                                                                                                                                                                                                                                                         ~-;,;::,cz::;:·,c),,:"c::2cc:<·".



                                                              i.:1i:;::~::r7·:~e     to be there in ·person to be able to do it. I leave on Saturday. That was my only
                                                             . • option .

                                                              . You could have done it in the US, again that doesn't make sense, why rushing it now while
                                                                you'.re with the girls in 'France?


      Arnaud, I have to have the kids present to renew their passports. I can't do it without them.



    ·'1 ·Vcius:
        Ye; Richoux sent a proposal to Farrugia almost 2 months ago

      She never received it. Could you have him resend it?                  19:39
                                                                                                                                                                                                          .
                                                                                                                                                                                              ". ,--., ..,,_ ............. '"'·   "·-   ..,~~-""'--"'

                                                                               • : Xout~lso ~~~'.;tci9it~witl;l<;iy~;mY p7ri:ni§~ion.attP, l•~rn ~~Y.i°Q9i~·oller:~JilearJy~ •. 19:ig,.#;t
                                                                                                                                                        0

                                                                              • -•~~"'' > ► \t<:~ ,,~< ~.:.-·,.'".< :0-·>:..~ ,__,_Y;<.   +-s~:-...<k:...~.""M..3::....:'   ::d.   ;-:..   -~<"=~~-)">.2,.:.-:J,· ··:c..:s':<··~~...;,_\< '....>,,,.:_0..<<~-~--·"<;:;.._./s.~S, .:....: ~,-_·_.,~V. .cOC>.V'·~½t:~'....




                                                            EXHIBIT 53 - PAGE 1 OF 1
